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    (c) Debtor’s Attorney Compensation. Third, to debtor’s attorney fees of $           3450      and expenses of
        $           0           , of which $       550          has been paid, leaving $      2900          unpaid.
        Upon application, the court may award not more than $500 in addition to the above amount without
        further notice at the time of confirmation. Debtor’s attorney     may       may not apply for supplemental
        compensation and expense reimbursement. Attorney will be paid as follows (check only one):
             All attorney fees and expenses, including supplemental compensation, will be paid from all available
             funds after the trustee makes any disbursements under paragraph 4(a) and any fixed monthly
             payments in paragraph 4(b).
             Other:


   (d) Domestic Support. Fourth, to allowed unsecured domestic support obligations under § 507(a)(1).

   (e) Administrative Expenses. Fifth, to allowed administrative expenses under § 507(a)(2).

   (f)   Priority Claims. Sixth, to allowed priority claims in the order stated in § 507(a)(3)–(10), including §
         1305 claims.

   (g) Unsecured Claims. Seventh, to allowed nonpriority unsecured claims, the amounts required by §
       1325(b)(1). [mark only one].

            (1) Creditors will receive approximately        0       % of their claims. Payment of any dividend
            will depend on the amounts of allowed secured, priority (including costs of administration and the
            debtor’s attorney fees), and nonpriority unsecured claims.
             (2) Creditors will receive a minimum             % of their claims.

   (h) Best Interest of Creditors. The "best interest of creditors" number is $           0           , and not
       less than that amount must be distributed to unsecured priority and nonpriority creditors. The amount
       of allowed priority claims will reduce the amount distributed to allowed unsecured nonpriority creditors.

   (i)   Unsecured Claim Interest. All allowed unsecured claims will receive interest of           0      % from the
         time of confirmation.

   (j)   Untimely Claims Disallowed. Subject to the provisions of § 502(b)(9), untimely claims are disallowed
         without the need for objection.

5. Executory Contracts and Leases. The debtor ASSUMES the following executory contracts and
        leases:

                                         Amount of Default
         Creditor                         [State if None]                      Cure Provisions




   Executory contracts or leases not specifically listed above are rejected. Any allowed claim arising from
   rejection will be treated under paragraph 4(g). Debtor will pay all assumed executory contracts and leases
   directly, including amounts required to cure. Debtor must surrender any property covered by rejected
   executory contracts or leases to the affected creditor no later than confirmation. Debtor MOVES that the
   stay of § 362(a) be terminated as to all property covered by rejected executory contracts and leases and
   that the stay of § 1301 be terminated.




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6. Section 522 Lien Avoidance. Debtor MOVES, pursuant to § 522(f)(1), to avoid the judicial liens or non-
   purchase-money security interests of the following creditors because they impair an exemption of the debtor:




    The order of confirmation will avoid the liens listed above, and claims of the lienholders will be treated in
    paragraph 4(g).

7. Direct Payments. Debtor must pay directly to each of the following creditors the regular payment that comes
   due after the petition date (state creditor name followed by collateral description):
    NJCC Fund #5, 5219 SE 42nd Ave
    Webster Bank, 5219 SE 42nd Ave



8. Use of Credit. Debtor may not incur credit or debt obligations during the life of the plan without the trustee's
   written consent unless made necessary by emergency or incurred in the ordinary course of operating debtor's
   business.

9. Debtor Reporting Requirements. Unless waived by the trustee in writing, debtor must report immediately,
   upon receipt of notice of the change, to the trustee if actual or projected gross annual income exceeds by
   more than 10% the gross income projected by debtor in the most recently filed Schedule I. Unless listed in
   the schedules, debtor must report immediately to the trustee any right of debtor to a distribution or right to
   distribution of funds or other property, including bonuses and inheritances, worth more than $2,500.

10. Post-petition Tax Reporting. For tax years listed in paragraph 3(c), debtor must timely file all required tax
    returns and provide copies to the trustee each year immediately upon filing with the taxing authority.

11. Vesting of Estate Property; Limitations on Post-confirmation Property Use. Property of the estate will
    vest in debtor upon confirmation, subject to the terms of this paragraph. Except for regular monthly income,
    any right of debtor to a distribution of funds or other property exceeding a value of $2,500 must be held by
    debtor and not used without the trustee's permission or a court order. Debtor must not buy, sell, use, lease
    (other than a lease of real property in which the debtor will reside), encumber, or otherwise dispose of any
    interest in: (a) real property; or (b) personal property worth more than $10,000 out of the ordinary course of
    business without notice (given per FRBP 2002 as if the interest were property of the estate) to all creditors
    and the trustee, with an opportunity for hearing, unless the property is acquired through the use of credit with
    the trustee's written consent.

12. Treatment of Trustee Funds on Hand Upon Dismissal or Conversion. If this case is converted to chapter
    7 and the chapter 13 trustee has more than $2,500 at the time of conversion, the chapter 13 trustee must
    forward all funds to debtor, in care of debtor’s attorney, if any, 10 days after the first scheduled § 341(a)
    meeting in the chapter 7 case unless the chapter 7 trustee files and serves a written objection pursuant to §
    348(f)(2). If the funds in the chapter 13 trustee's possession at conversion are $2,500 or less, or if this case
    is dismissed, the chapter 13 trustee must forward all funds to debtor in care of debtor's attorney, if any. This
    paragraph does not determine the rights of the parties to these funds.

13. Reservation of Rights and Powers. Except as expressly set forth in this plan or the confirmation order,
    neither this plan nor the confirmation order affects any right or power of debtor or the trustee, including
    debtor’s rights under § 1302 and rights of the trustee or any trustee’s assignee under 11 USC chapter 5.




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14. Additional Nonstandard Provisions. Any nonstandard provisions are set forth below or on attachments;
    each provision is numbered, beginning with 15. Debtor and, if applicable, debtor’s counsel certify that the
    plan contains no nonstandard provision other than those set out consistent with this paragraph. Nonstandard
    provisions set out elsewhere in this plan are ineffective; nonstandard provisions will be effective only if there
    is a check in the box “Included” in paragraph 1.




/s/ Elizabeth M Murphy                  05/27/18
  DEBTOR                                 DATE                        DEBTOR                                         DATE


CERTIFICATE OF SERVICE on Creditors/Parties Treated in Paragraphs 4(b)(1) (under the “Collateral Value
if Not Paying in Full” column), 4(b)(2) (under the “Amount of Claim as Modified” column), 5, and 6 (see FRBP
3012, 4003(d), and 9014, and LBR 6006-1(b)). I certify that copies of this plan and the notice of hearing to confirm
this plan were served as follows:

a) For creditors/parties who are not Insured Depository Institutions (served by court) (see FRBP 7004(b)), I
   either listed the creditors/parties in the mailing list filed with the court exactly as follows, OR, on 05/27/18 ,
   I served the above-documents by first-class mail to the creditors/parties at the names and addresses exactly
   as follows (list each creditor/party, the person or entity the creditor/party was served through, and the
   address):
    NJCC Fund #5 LLC
    Corporation Service Division
    251 Little Falls Dr
    Wilmington, DE 19808-1674



b) or Insured Depository Institutions (see FRBP 7004(h)), on           05/27/18     , I served the above-documents
   by certified mail, or by other authorized means (specify), at the name and address exactly as follows (list each
   insured depository institution, the person or entity the institution was served through, and the address):
    Webster Bank NA
    James C. Smith, CEO
    145 Bank St.
    Waterbury, CT 06726



                                                                  /s/ Scot Eliot
                                                                     DEBTOR OR DEBTOR’S ATTORNEY

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15. The debtor shall sell or refinance 5219 SE 42nd Ave not later than 3/1/2021 and shall
pay to the Trustee from the proceeds at closing, funds sufficient to pay all creditors secured
by the subject property remaining in the plan. Secured creditors are NJCC Fund #5,
Webster Bank, and ODR. Debtor shall alsopay to the Trustee for distribution through the
Plan, non- exempt proceeds to the extent required by the Trustee’s payoff quote. The debtor
shall obtain the Trustee’s permission prior to any sale or refinanceand to obtain that
permission, provide copies to the Trustee of a preliminary closing statement and title
report. The debtor shall provide the Trustee with a copy of the final closing statement
within 15 days following the close of the sale or refinance.

16. Debtor shall provide to the Trustee proof of post- petition mortgage payments made
during the life of the Plan. Proof shall be in the form of debtors' cancelled checks, or
receipts/statements provided by the recipient and shall be presented to the Trustee every
January 1st and continuing during the life of the Plan. In the event such proof cannot be
provided, in whole or in part, the debtor shall pay to the Trustee for distribution through
the Plan, a sum equal to the difference between the mortgage payment listed onSchedule
106 J and those payments which cannot be proven, or in the alternative, the Trustee may file
a motion to dismiss or convert due to a material default with respect to a term of the
confirmed plan.

1. Debtor shall be permitted to retain up to $2,400 from each tax year refund over and
above any Earned Income Credit for the following expenses: home maintenance and basic
living expenses. This retained amount shall not be included in the base amount of the plan.




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